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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–17–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 ANDREW JOSEPH SHIELDS,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 3, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Andrew Joseph Shields’ guilty

plea after Shield appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession, with the

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intent to distribute, methamphetamine in violation of 21 U.S.C. § 841(a)(1) as set

forth in Count III of the Indictment. In exchange for Defendant’s plea, the United

States has agreed to dismiss Counts I, IV, V, VII, VIII, and IX of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

66), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Andrew Joseph Shields’ motion to

change plea (Doc. 51) is GRANTED and Andrew Joseph Shields is adjudged

guilty as charged in Count III of the Indictment.

      DATED this 22nd day of August, 2016.




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